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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Joann Doran, individually and on            )
behalf of all others similarly situated,    )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )       No. 10 C 7352
                                            )
Transworld Systems, Inc., a California      )
corporation,                                )
                                            )
       Defendant.                           )       Jury Demanded

                               CLASS ACTION COMPLAINT

       Plaintiff, Joann Doran, individually and on behalf of all others similarly situated,

brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

("FDCPA"), for a finding that Defendant’s debt collection letters violate the FDCPA, and

to recover damages for its violation, and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                           PARTIES

       3.      Plaintiff, Joann Doran (“Doran”), is a citizen of the State of Illinois, residing

in the Northern District of Illinois, from whom the Defendant attempted to collect a

delinquent consumer debt allegedly owed to Oberweis Dairy.

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       4.       Defendant, Transworld Systems, Inc., (“Transworld”), is a California

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or telephone to collect, or attempt to collect, delinquent

consumer debts, including delinquent consumer debts in the Northern District of Illinois.

In fact, Transworld was acting as a debt collector as to the debt it attempted to collect

from Ms. Doran.

       5.       Defendant Transworld is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Transworld conducts business in Illinois.

       6.       Defendant Transworld is licensed to act as a collection agency in Illinois,

see, record from the Illinois Division of Professional Regulation, attached as Exhibit B.

In fact, Transworld acts as a collection agency in Illinois.

                                 FACTUAL ALLEGATIONS

       7.       Defendant Transworld sent Ms. Doran an initial form collection letter,

dated December 15, 2009, demanding payment of a delinquent consumer debt owed to

Oberweis Dairy. A copy of this letter is attached as Exhibit C.

       8.       Defendant Transworld thereafter sent two more collection letters to Ms.

Doran, dated December 28, 2009 and January 5, 2010, demanding payment of the

Oberweis Dairy debt. Copies of these letters are attached as Exhibits D and E,

respectively.

       9.       Defendant then sent Ms. Doran a fourth form collection letter dated

January 14, 2010 -- the thirtieth day of the validation period -- demanding payment of

the Oberweis debt. This letter stated, in pertinent part:

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                                                  * * *

       NOTICE – Statutory dispute expired 30 days after you received our first letter.
       Therefore, we are permitted under Federal law to assume that this debt is valid.

       It has been our experience that much of the debt assigned for professional
       collection is resolved before it reaches this stage in the collection process. This
       matter, however, has not yet been resolved.

       This matter should be addressed. If left unresolved, our collection efforts may
       continue. If our client wishes for us to do so, we will have this claim referred to
       our team of professional telephone collectors.

                                                  * * *

A copy of this letter is attached as Exhibit F.

       10.    All of Defendant Transworld’s collection actions at issue in this matter

occurred within one year of the date of this Complaint.

       11.    Defendant Transworld’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                     COUNT I
                              Violation Of § 1692g –
                   Overshadowing And/Or Ineffectively Conveying
                           The 30-Day Validation Notice

       12.    Plaintiff adopts and realleges ¶¶ 1-11.

       13.    Section 1692g of the FDCPA requires that, within 5 days of Defendant’s

first communication to a consumer, the Defendant provide the consumer with an

effective validation notice, i.e., notice that the consumer has 30 days after receipt of the

notice to challenge the validity of the debt, or any portion of the debt, and seek

verification of it. Moreover, § 1692g(b) further prohibits any collection activity and/or


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communication during the 30-day period which overshadows, or is inconsistent with, the

disclosure of the consumer’s right to dispute the debt, see, 15 U.S.C. § 1692(b).

       14.    Here, although Defendant Transworld’s first letter, dated December 15,

2009, contains the notice required by § 1692g of the FDCPA (Exhibit C), Defendant’s

fourth collection letter, dated January 14, 2010 (Exhibit F) rendered that validation

notice ineffective. Specifically, Defendant’s letter stated, “NOTICE – Statutory dispute

expired 30 days after you received our first letter. Therefore, we are permitted under

Federal law to assume that this debt is valid.”, when, in fact, the 30-day validation

period had not yet expired. These statements would confuse anyone, let alone the

unsophisticated consumer, as to what their validation rights were, by creating confusion

and a false sense of urgency. Defendant Transworld’s form collection letters thus

violates § 1692g of the FDCPA. See, Chauncey v. JDR Recovery Corporation, 118

F.3d 516, 519 (7th Cir. 1997); see also, § 1692g(b).

       15.    Defendant Transworld’s violations of § 1692g of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                        COUNT II
                         Violation Of § 1692e Of The FDCPA --
                                   False Statements

       16.    Plaintiff adopts and realleges ¶¶ 1-11.

       17.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt. Defendant violated § 1692e of the FDCPA by stating that the validation



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period had expired and that it could “assume the debt is valid”, when, in fact, Plaintiff

still had time to dispute the validity of the debt.

       18.    Defendant's violation of § 1692e of the FDCPA renders it liable for

damages, costs and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   CLASS ALLEGATIONS

       19.    Plaintiff, Joann Doran, brings this action individually and as a class action

on behalf of all persons similarly situated in the State of Illinois from whom Defendant

attempted to collect a delinquent consumer debt allegedly owed to Oberweis Dairy, via

the same form collection letters (Exhibits C through F), sent within 30 days of each

other, that Defendant sent to Plaintiff, from one year before the date of this Complaint to

the present. This action seeks a finding that Defendant's form letters violate the

FDCPA, and asks that the Court award damages as authorized by § 1692k(a)(2) of the

FDCPA.

       20.    Defendant Transworld regularly engages in debt collection, using the

same form collection letters it sent Plaintiff Doran, in its attempts to collect delinquent

consumer debts from other persons.

       21.    The Class consists of more than 35 persons from whom Defendant

Transworld attempted to collect delinquent consumer debts by sending other

consumers the same form collection letters it sent Plaintiff Doran.

       22.    Plaintiff Doran’s claims are typical of the claims of the Class. Common

questions of law or fact raised by this class action complaint affect all members of the

Class and predominate over any individual issues. Common relief is therefore sought



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on behalf of all members of the Class. This class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

       23.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Class, and a risk that any adjudications with respect to individual

members of the Class would, as a practical matter, either be dispositive of the interests

of other members of the Class not party to the adjudication, or substantially impair or

impede their ability to protect their interests. Defendant has acted in a manner

applicable to the Class as a whole such that declaratory relief is warranted.

       24.    Plaintiff Doran will fairly and adequately protect and represent the interests

of the Class. The management of the class action proposed is not extraordinarily

difficult, and the factual and legal issues raised by this class action complaint will not

require extended contact with the members of the Class, because Defendant's conduct

was perpetrated on all members of the Class and will be established by common proof.

Moreover, Plaintiff Doran has retained counsel experienced in class action litigation,

including class actions brought under the FDCPA.

                                  PRAYER FOR RELIEF

       Plaintiff, Joann Doran, individually and on behalf of all others similarly situated,

prays that this Court:

       1.     Certify this action as a class action;

       2.     Appoint Plaintiff Doran as Class Representative of the Class, and her

attorneys as Class Counsel;

       3.     Find that Defendant's form collection letters violate the FDCPA;

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       4.     Enter judgment in favor of Plaintiff Doran and the Class, and against

Defendant, for statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       5.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Joann Doran, individually and on behalf of all others similarly situated,

demands trial by jury.

                                                     Joann Doran, individually and on behalf
                                                     of all others similarly situated,

                                                     By:/s/ David J. Philipps______________
                                                     One of Plaintiff's Attorneys

Dated: November 15, 2010

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